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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

 GARY RHINES,                           :

                  Petitioner            :     CIVIL ACTION NO. 3:20-0407

             v.                         :          (JUDGE MANNION)

                                        :
 THOMAS MCGINLEY,
 Superintendent                         :
              Respondent
                                        :

                                   ORDER

        In accordance with this Court’s memorandum issued this same day, IT

IS HEREBY ORDERED THAT:

        1. The petition for writ of habeas corpus (Doc. 1) is DISMISSED as
           moot.

        2. The Clerk of Court is directed to CLOSE THIS CASE.




                                            s/ Malachy E. Mannion
                                            MALACHY E. MANNION
                                            United States District Judge

DATE: October 16, 2020
20-0407-01
